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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JESSE ACKLES, individually and                        )
on behalf of all others similarly situated,           )
                                                      )
                         Plaintiff,                   )
                                                      )       Case No. 19-cv-8175
       vs.                                            )
                                                      )       Hon. John R. Blakey
H & R ACCOUNTS, INC. d/b/a AVADYNE                    )       Magistrate Judge Jeffery Gilbert
HEALTH.,                                              )
                                                      )       Jury Demanded
                         Defendant.                   )


      STIPULATION OF DISMISSAL BETWEEN PLAINTIFF AND DEFENDANT

       IT IS HEREBY STIPULATED AND AGREED to by Plaintiff and Plaintiff’s attorney
and Defendant and their attorneys, that pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of
Civil Procedure, all individual claims of Plaintiff against Defendant in this matter shall be and are
hereby dismissed with prejudice and the class claims to be dismissed without prejudice, with each
side to bear its own fees and costs.
Dated: August 10, 2020

Respectfully submitted,

By: /s/ Michael W. Drew                               /s/ David Mitchell Poell

Michael W. Drew                                       David Mitchell Poell
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